            Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 1 of 14



 1   MICHAEL M. EDWARDS, ESQ.
     Nevada Bar No. 6281
 2   STEPHANIE D. BEDKER ESQ.
     Nevada Bar No. 14169
 3   FREEMAN MATHIS & GARY, LLP
     770 East Warm Springs Road, Suite 360
 4   Las Vegas, NV 89119
     Tel.: 725.258.7360
 5   Fax: 833.336.2131
     Michael.Edwards@fmglaw.com
 6   Stephanie.Bedker@fmglaw.com
     Attorneys for Defendants
 7
                                  UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
      GRANT SAXENA,                                         Case No.: 2:22-cv-02126-CDS-BNW
10
                     Plaintiff,
11    vs.                                                   DEFENDANTS’ EMERGENCY MOTION
                                                            TO STRIKE AND REQUEST FOR
12    JEZRAEL MARTINEZ-HERNANDEZ                            SANCTIONS
13    JASON J. HEANEY                                       EMERGENCY MOTION
14    DAVID BORUCHOWITZ                                     HEARING REQUESTED
15    NYE COUNTY SHERIFF OFFICE
16                  Defendants.
17

18           Pursuant to Local Rule 7-4, Defendants Jezrael Martinez-Hernandez, Jason J. Heaney,
19    David Boruchowitz, and the Nye County Sheriff’s Office (collectively, “Defendants”), by and
20    through their counsel of record, the law firm of Freeman Mathis & Gary, LLP, hereby submit this
21    emergency motion to strike, request for sanctions, and request for hearing. Contrary to this Court’s
22    orders and his obligations pursuant to the local and federal rules, Plaintiff continues to refuse to
23    conduct a Fed. R. Civ. P. 26(f) conference with Defendants, he has blatantly lied to the Court, and
24    unilaterally filed a proposed joint discovery plan and scheduling order.
25    ///
26

27

28

                                                       1
            Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 2 of 14




1            This emergency Motion is made based upon the pleadings on file herein, the attached

2    memorandum of points and authorities, the exhibits attached hereto, the Declaration of Michael

3    Edwards, Esq., and any oral argument the Court may permit at the hearing on this matter.

4             DATED this 3rd day of January, 2024.

5
                                                            FREEMAN MATHIS & GARY, LLP
6
                                                              /s/ Michael M. Edwards
7                                                           MICHAEL M. EDWARDS, ESQ.
                                                            Nevada Bar No. 6281
8                                                           STEPHANIE D. BEDKER ESQ.
                                                            Nevada Bar No. 14169
9                                                           770 East Warm Springs Road, Suite 360
                                                            Las Vegas, NV 89119
10                                                          Attorneys for Defendants
11

12                       MEMORANDUM OF POINTS AND AUTHORITIES
13     I.    INTRODUCTION
14           Plaintiff filed his Complaint on December 22, 2022. Including the instant Emergency
15   Motion, 52 documents have been filed in this matter to date. Plaintiff has maintained his baseless
16   claims and made a mockery of this Court and the judicial system for 372 days. Less than three
17   months ago, Defendants were forced to file its first Emergency Motion to Strike due to similar
18   dishonest actions by Plaintiff when he first attempted to file a “Joint Proposed Discovery Plan and
19   Scheduling Order.” See Emergency Motion (ECF No. 39).
20           Since this Court’s last Order, Plaintiff’s behavior has become more abhorrent. Plaintiff’s
21   actions are not the product of ignorance or gamesmanship - it is outright defiance of this Court.
22   Plaintiff does not seek justice; he seeks to harass Defendants in a judicial arena in an effort to
23   waste time and drive up litigation costs.
24           This Court has been very patient and given leniency to Plaintiff, a pro se litigant,
25   throughout the past year. Just two weeks ago, this Court admonished Plaintiff and advised that
26   sanctions would be entered if Plaintiff failed to meet-and-confer or abide by this Court’s rules. See
27

28
                                                      2
               Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 3 of 14




1    Order, p. 2:24-28 (ECF No. 50).

2               Despite this clear warning, Plaintiff continues to make this litigation a farce. Defendants

3    attempted to contact Plaintiff via email, as he has yet to provide a working telephone number, with

4    no response from Plaintiff. Further, Defendants never received any emails or phone call from

5    Plaintiff prior to his second unilateral filing of a Joint Proposed Discovery Plan and Scheduling

6    Order. (ECF No. 51). Plaintiff continues his refusal to conduct a Rule 26(f) conference as he

7    inundates this Court with blatant lies. Instead of following this Court’s directive, Plaintiff is once

8    engaging in intentional and obstructive misconduct.

9               Given the above, and as outlined below, Defendants seek sanctions in attorney fees and

10   case dismissal pursuant to Federal Rule of Civil Procedure 37(f), as well as this Court’s prior Order

11   and admonishment.

12       II.    STATEMENT OF FACTS AND PROCEDURAL POSTURE

13              Plaintiff filed this action on December 22, 2022 based on diversity jurisdiction, asserting

14   he is a “law student in the United Kingdom.” Complaint at p. 4 (ECF No 1-1). Believing that

15   Plaintiff’s invocation of diversity jurisdiction is specious, Defendants filed a Motion to Dismiss

16   for Lack of Diversity Jurisdiction on June 6, 2023. See Motion to Dismiss (ECF No. 17). Therein,

17   Defendants provided extensive evidence to the Court that – contrary to his assertions – Plaintiff

18   was not studying abroad in law school in the UK at the time he filed this action and was instead, a

19   Nevada resident. See generally id.1

20              In initiating this action, Plaintiff provided a UK mailing address, a UK phone number (i.e.

21   44-20-3086-7796), and an email address affiliated with the University of Law, the UK-based law

22   school that he was purportedly attending (i.e. grant.saxena25@law.ac.uk; the “UK Email

23   1
       Plaintiff has not yet filed a response in opposition to the Motion to Dismiss. Instead, he has repeatedly
24   sought extensions from this Court, seeking to “moot” the Court’s lack of diversity jurisdiction by amending
     his complaint to newly assert an unwarranted federal claim. See Motion to Enlarge Time or Leave to Reply
25   Through Amended Complaint (ECF No. 19); Second Motion to Enlarge Time to Reply to Motion Through
     Amended Complaint (ECF No. 21). Plaintiff’s requests to purportedly fix the Court’s current lack of
26   jurisdiction through an amended complaint is tacit acknowledgement that his original claim of diversity
     jurisdiction was based on a false claim of foreign residency.
27

28
                                                         3
           Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 4 of 14




1    Address”) as his contact information. However, the UK address and UK phone number provided

2    by Plaintiff are not personally affiliated with any residence or personal phone line belonging to

3    Plaintiff; rather, they are the business address and business phone number for N1 Mailbox, a UK

4    company that provides mailbox rental services. See Motion to Dismiss, p. 5, fn. 2 and Exhibit B to

5    Motion to Dismiss. Thus, Plaintiff intentionally misled the Court by providing a phone number

6    that is not his. When Defendants submitted a courtesy copy of their filings to Plaintiff’s UK Email

7    Address, Plaintiff objected in a Court filing to this communication, calling it “out-of-court

8    harassment” and stating that the email address is “an old law school email address in the UK which

9    cannot accept the data.” See Motion to Enlarge Time, p. 3:2-6 (ECF No. 19). Thus, by his own

10   admission, UK Email Address is not a proper address at which to receive communications related

11   to this case.

12           On July 18, 2023, Plaintiff faxed a proposed discovery plan and scheduling order to

13   counsel’s office. See Exhibit A to Emergency Motion, (ECF No. 39). Prior to this fax, Plaintiff

14   made no efforts to set the conference required under Fed. R. Civ. P. 26, nor had the parties

15   exchanged any correspondence or engaged in any communications related to the proposed

16   discovery plan and scheduling order. See Declaration of Michael Edwards Esq. (“Edwards Dec.”),

17   ¶ 8, (ECF No. 39-6). The cover sheet for the fax delineated Plaintiff’s email address as

18   grant.saxena@gmail.com (the “Gmail Address”), rather than the UK Email Address listed with

19   this Court. See Exhibit A to Emergency Motion, (ECF No. 39).

20           On July 20, 2023, Defendants submitted a courtesy copy of their filed Non-Opposition to

21   Motion to Dismiss to both the UK Email Address and the newly provided Gmail Address. See

22   Exhibit B Emergency Motion, (ECF No. 39). Plaintiff responded only from the Gmail Address,

23   stating, “Do not harass this address with duplicate filings.…If anyone from this business sends any

24   more emails after being warned, additional lawsuits, including a protective order will file against

25   each indivisible [sic] for stalking.” See id.

26           Nevertheless, despite Plaintiff’s lack of efforts to affirmatively facilitate the scheduling of

27   the Rule 26(f) conference, on July 20, 2023, Defendants sent an email to both email addresses,

28
                                                       4
          Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 5 of 14




1    indicating that Plaintiff’s faxed discovery plan and scheduling order did not comply with the Local

2    Rules, and circulating their own draft discovery plan and scheduling order. See Exhibit C to

3    Emergency Motion, (ECF No. 39. In bold italics, defense counsel stated, “In accordance with

4    Local Rule 26-1, we must complete a Rule 26(f) conference prior to submission of this document

5    to the Court,” and informed Plaintiff that the parties must discuss certain matters at the conference

6    pursuant to the Local Rules, as outlined in the proposed discovery plan. See id. (emphasis in

7    original). Counsel requested that Plaintiff provide an accurate phone number and approved email

8    address to facilitate necessary communications between the parties, as well as a date and time for

9    the conference. Id. Plaintiff responded from the Gmail Address, stating, “This personal email

10   account is not monitored for legal purposes. Your business and the individuals stalking this address

11   have been added to the current lawsuit and any further correspondence will be blocked.” See

12   Exhibit D to Emergency Motion, (ECF No. 39).

13          Since issuing that threat, Plaintiff has never communicated with Defendants regarding the

14   Rule 26(f) conference or the proposed discovery plan and scheduling order. (ECF No. 39-6 at ¶

15   15). Although the discovery plan and scheduling order was due to be filed with the Court on July

16   21, 2023, Plaintiff instead filed two motions, requesting an extension to the Rule 26 deadlines

17   based on his erroneous belief that a proposed discovery plan and scheduling order did not need to

18   be completed until after he filed an amended complaint. See Motion to Strike and Extend Time

19   (ECF No. 23); Motion to Strike and Extend Time (ECF No. 24).2

20          On August 1, 2023, Defendants filed a second motion to dismiss, outlining the foregoing

21   conduct and requesting that the Court dismiss the action or sanction and compel Plaintiff to provide

22   proper contact information to Defendants and to engage with defense counsel, including with

23   respect to preparation and submission of the joint proposed discovery plan and scheduling order.

24   See generally Motion to Dismiss or Alternatively, Motion for Compel and for Sanctions (“Second

25   Motion to Dismiss”) (ECF No. 26). In his response in opposition, Plaintiff informed the Court that

26
     2
       Plaintiff has not filed a motion to amend or submitted a proposed amended complaint to this Court, and
27   this Court has already expressly denied Plaintiff leave to amend. See Minute Order (ECF No. 20).

28
                                                        5
          Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 6 of 14




1    he did not intend to communicate with defense counsel regarding the Rule 26(f) conference and/or

2    the joint discovery plan and scheduling order, calling such communications “irrelevant” if

3    Defendants “seek alternative counsel,” stating he “did not feel comfortable continuing dialogue”

4    with defense counsel because they have been “harassing” and “stalking” him, and expressing

5    concern that their courtesy copies of Court filings potentially included computer viruses.

6    Opposition to Motion to Dismiss (ECF No. 31), pp. 3:26-4:6, 4:22-25. Plaintiff did not offer any

7    evidence in support of such statements or provide any rational basis for the same.

8           Subsequent to the filing of the Second Motion to Dismiss, the Court issued a Minute Order,

9    granting Plaintiff until September 14, 2023 in which for Plaintiff to file a joint proposed discovery

10   plan and scheduling order and mandating that he “communicate with defense counsel within one

11   week of this Order and provide a phone number and email address at which he can be reached.”

12   See Minute Order, dated August 14, 2023 (ECF No. 30). Plaintiff did not comply with the Court’s

13   order or otherwise communicate with Defendants within the deadline set by the Court. However,

14   after the Court-imposed deadline to communicate, Defendants received a fax from a company

15   named Ruckus Records. The fax included a company email address as part of its “sender

16   information” (i.e. info@ruckus-records.com) and a phone number, which it stated was “the

17   plaintiff’s updated U.S. phone number” for this action. See id. It did not delineate an approved

18   email address for Plaintiff, nor did it indicate that the Ruckus Records company email address

19   could be used for communications related to this litigation. See id.

20          Attempting to reach Plaintiff regarding the long-pending Rule 26(f) conference, defense

21   counsel immediately called the newly provided phone number and left a voice message, requesting

22   to speak to Plaintiff. (ECF No. 39-6 at ¶ 10). Less than two minutes later, a man called from

23   another phone number, demanding to know why Defendants wished to speak to Plaintiff. See id.

24   at ¶ 11. The man refused to identify himself, stating only that he is a “1099 person.” See id. at ¶

25   12. Although the number identified the caller as “Jay Saxena,” the man denied that he was Jay

26   Saxena and denied knowing Plaintiff, claiming instead to be a “phone assistant” who rents out his

27   services to monitor various phone lines. See id. He did not provide or offer any assistance that

28
                                                      6
          Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 7 of 14




1    would enable defense counsel to speak directly with Plaintiff, and after refusing to answer the basic

2    questions posed to him, he hung up. See id. at ¶¶ 13-14.

3            Although Plaintiff subsequently acknowledged receiving counsel’s voicemail message,3 at

4    no point did he return Defendants’ call or make any other efforts to communicate with Defendants

5    regarding the Rule 26(f) conference or the joint discovery plan and scheduling order prior to the

6    expiration of the Court’s September 14, 2023 deadline. Instead, in a Court filing on September 17,

7    2023, Plaintiff misconstrued this single voicemail message as “harassment” and “stalking.” See

8    Objection (ECF No. 34), p. 13-22. Despite the Court’s express order that Plaintiff communicate

9    with Defendants regarding the discovery plan and scheduling order, Plaintiff falsely maintained

10   that “there was no legitimate reason for [defense counsel] to call” and “there is no

11   pending…document to confer against.” Id.

12           Noting the expiration of its deadline, the Court issued a second minute order, the Court

13   again extended leniency to Plaintiff, now imposing a deadline of October 2, 2023 in which for the

14   parties to submit the proposed discovery plan and scheduling order. See Minute Order (ECF No.

15   35). Without ever communicating with Defendants regarding the same, Plaintiff filed a Proposed

16   Discovery Plan and Scheduling Order on October 2, 2023. See Proposed Discovery Plan and

17   Scheduling Order (ECF No. 37-1).4 Therein, Plaintiff falsely asserted that a Rule 26(f) conference

18   had been conducted on August 22, 2023 between Plaintiff “with his caregiver” and Michael

19   Edwards, Esq. and that the parties had conferred on various topics, as delineated. He forged

20   Michael Edwards’ e-signature on the signature block with a general date of October 2023.

21           On October 4, 2023, Defendants filed an Emergency Motion to Strike and Request for

22   Hearing on Order to Show Cause. See Motion to Strike (ECF No. 39). Therein, Defendants

23   requested that the Court strike the proposed scheduling order and discovery plan that Plaintiff

24
     3
25     See Objection to Defendants’ Reply to Response to Motion to Dismiss (EF No. 34) (“Objection”), p. 2:11-
     12.
     4
26     The document filed by Plaintiff largely consisted of the draft proposed discovery plan and scheduling
     order that had been previously prepared by Defendants and submitted to Plaintiff months prior on July 21,
27   2023, which Plaintiff retyped into his own template and edited. See Ex. C.

28
                                                        7
          Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 8 of 14




1    fraudulently submitted to the Court. They further requested that the Court issue an order to show

2    cause why Plaintiff should not be sanctioned for, inter alia, his continued refusal to conduct a Fed.

3    R. Civ. P. 26(f) conference with Defendants, his blatant lie to the Court that the parties had

4    conducted such a conference, and his forgery of defense counsel’s e-signature on the proposed

5    joint discovery plan and scheduling order that he filed with the Court without Defendants’ consent.

6    See Motion to Strike (ECF No. 39). Plaintiff did not file any response in opposition to the Motion

7    to Strike.

8            On October 27, 2023, Magistrate Judge Brenda Weksler issued an order, granting the

9    Motion to Strike and ordering Plaintiff to show cause “why the Court should not recommend that

10   his complaint be dismissed and why he should not pay reasonable expenses including Defendants’

11   attorney fees for his failure to participate in good faith in developing and submitting a discovery

12   plan.” Order (“Order to Show Cause”), p. 3:5-11 (ECF No. 44). Plaintiff did not comply with the

13   Order to Show Cause. On November 15, 2023, Judge Weksler noted Plaintiff’s failure to respond

14   and issued a minute order, mandating that Plaintiff comply with the Order to Show Cause no later

15   than November 22, 2023, at risk of the issuance of a report and recommendation that the action be

16   dismissed with prejudice. See Minute Order (ECF No. 45).

17           Plaintiff still did not comply with these orders or file any document with this Court,

18   showing why he should not be sanctioned with attorney fees and case dismissal. Instead, on

19   November 19, 2023, Plaintiff filed a Motion to Stay, requesting a stay of the Order to Show Cause

20   pending a resolution of an “appeal” of the Order to Show Cause that he purportedly filed on

21   November 9, 2023. See generally Motion to Stay (ECF No. 46).

22           On December 12, 2023, Magistrate Judge Brenda Weksler issued an order giving Plaintiff

23   additional time again to comply with LR 26-1 to meet and confer with Defendants and jointly

24   submit a Proposed Discovery Plan and Scheduling Order. (ECF No. 50). This Court admonished

25   Plaintiff and stated that it “will sanction Plaintiff for future failures to meet and confer or

26   otherwise fail to abide by the Local Rules of the Court and the Federal Rules of Civil

27   Procedure.” Id. at 2:24-28.

28
                                                      8
            Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 9 of 14




1            After hearing nothing from Plaintiff, Defendants attempted to contact Plaintiff to meet and

2    confer and otherwise prepare a joint Proposed Discovery Plan and Scheduling Order. See Email

3    from Stephanie Bedker, Esq. to Plaintiff, dated December 14, 2023, a true and correct copy is

4    attached hereto as Exhibit A. Plaintiff acknowledged receiving correspondence from Defendants.

5    See Proposed Joint Discovery Plan (ECF No. 51 at p.2:8-10). Defendants adamantly attest that no

6    response or communications from Plaintiff ever occurred. See Declaration of Michael Edwards

7    Esq. attached hereto as Exhibit B. Plaintiff has refused to meet-and-confer and for the second

8    time, unilaterally filed a Proposed Joint Discovery Plan and Scheduling Order. (ECF No. 51)

9    III.    LEGAL ARGUMENT

10           Since the inception of this lawsuit, Plaintiff has engaged in bad faith and intentional

11   misconduct, and such actions warrant the imposition of severe sanctions. Despite his pro se status,

12   Plaintiff must comply with the Federal Rules of Civil Procedure and the Local Rules of the United

13   States District Court of Nevada. See Ghazali v. Moran, 46 F.3d 52, 54 (9th Cir. 1995) (pro se parties

14   must still comply with rules and case law); Briones v. Riviera Hotel & Casino, 116 F.3d 379, 382

15   (9th Cir. 1997) (stating that “pro se litigants are not excused from following court rules.”).

16           While federal courts grant certain leniency to pro se litigants with respect to procedural

17   mistakes, Plaintiff cannot plead ignorance herein. Since at least July 20, 2023, Plaintiff has been

18   well aware of his obligations under Fed. R. Civ. P. 26 and Local Rule 26-1 to actively participate

19   in a Rule 26(f) conference and of his obligation under the rule to initiate the scheduling of the

20   conference. Despite being directly informed by defense counsel of his obligations under the Rules,

21   Plaintiff has not only failed to ever request that a conference be held, but he has done everything

22   in his power to prevent the same from occurring, including providing false contact information to

23   Defendants and threatening counsel for attempting to contact him regarding the conference.

24   Plaintiff has also filed numerous documents with this Court, contesting the necessity to conduct

25   the Rule 26(f) conference at all, arguing it did not need to be completed and calling such

26   communications “irrelevant,” falsely stating he “did not feel comfortable continuing dialogue”

27   with defense counsel when he never commenced or participated in any prior dialogue, and even

28
                                                       9
          Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 10 of 14




1    raising false accusations against defense counsel related to purported harassment and stalking

2    specifically related to their efforts to communicate with him regarding the Rule 26(f) conference.

3    See, e.g. Motion to Strike and Extend Time (ECF No. 23); Motion to Strike and Extend Time (ECF

4    No. 24); Opposition to Motion to Dismiss (ECF No. 31), pp. 3:26-4:6, 4:22-25.

5           Plaintiff’s intransigence on this issue necessitated this Court to issue a Minute Order on

6    August 14, 2023. Therein, this Court explicitly ordered that Plaintiff “communicate with defense

7    counsel within one week of this Order and provide a phone number and email address at which he

8    can be reached” for the express purpose of facilitating the preparation and filing of the discovery

9    plan and scheduling order by September 14, 2023. See Minute Order (ECF No. 30). Plaintiff did

10   not substantively comply with this Court’s order. He did not provide any contact information

11   within the stated deadline, he did not provide a working email address to Defendants, and he

12   continued to evade all attempts to communicate with him regarding the Rule 26(f) conference and

13   the discovery plan and scheduling order. Accordingly, the discovery plan and scheduling order

14   was not completed or filed on or before September 14, 2023.

15          Plaintiff’s filing of a Proposed Joint Discovery Plan and Scheduling Order constitutes the

16   ultimate illustration of his intentional misconduct and bad faith. Plaintiff’s assertion therein that

17   the call on August 22, 2023 constituted a conference pursuant to Fed. R. Civ. P. 26(f) is absurd

18   and a blatant falsehood. On August 22, 2023, a person who refused to identify himself called

19   defense counsel from a phone number that Plaintiff never provided to the parties or this Court.

20   This unknown man refused to answer basic self-identifying information, denied knowing Jay

21   Saxena (which was delineated on the caller ID), and even denied knowing Plaintiff, stating only

22   he was a “1099 person” working as a “phone assistant” who rents out services to monitor phone

23   lines on behalf of third parties. Refusing to answer such basic questions, the unknown caller

24   disconnected the call. No reasonable person could rationally misconstrue this interaction as a Rule

25   26(f) conference between the parties.

26          Plaintiff’s forgery of defense counsel’s e-signature and submission of the document to this

27   Court is indefensible. Plaintiff absolutely knows that the parties never held a Rule 26(f) conference.

28
                                                      10
           Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 11 of 14




1    He knows that he has never discussed the issues required to be addressed thereat, as included within

2    the certifications to the filing. He knows that he did not obtain consent from defense counsel to

3    sign the document on his behalf, attesting that the parties agreed to such falsehoods. Further, he

4    knows that defense counsel would not submit such a document to the Court without completing

5    the Rule 26(f) conference.

6            The first rogue Proposed Joint Discovery Plan and Scheduling Order that was falsely filed

7    with this Court was stricken, with a clear admonishment to Plaintiff that a meet-and-confer was to

8    occur and the rules of this Court must be followed. See Order (ECF No. 50). The number of times

9    this Court has granted Plaintiff leniency are too great to count. Despite the clear warning and

10   directive from the Court just two weeks ago, Plaintiff has once again taken to filing rogue

11   documents under a false narrative. See generally Exhibit B and ECF No. 51.

12           Despite Defendants’ best efforts, the parties have still not conducted the requisite Rule

13   26(f) conference. Defendants never received and did not consent to filing of the document. The

14   length of time and number of filings in this matter demonstrate that Plaintiff has no intention of

15   following this Court’s orders or the applicable Court rules. Simply put, despite all of the leniency

16   granted Plaintiff and warnings issued by this Court, Plaintiff will never participate in good faith.

17           Given Plaintiff’s repeated refusal to abide by the Court’s rules, Defendants request that this

18   Court issue sanctions in attorney fees and case dismissal pursuant to Federal Rule of Civil

19   Procedure 37(f). Defendants’ request for case dispositive sanctions is not made lightly. The

20   procedural posture of this matter evidences Plaintiff’s repeated misconduct and mockery of the

21   judicial system that warrants dismissal, which is in line with this Court’s December 12, 2023 Order

22   and admonishment. (ECF No. 50).

23   ///

24   ///

25   ///

26   ///

27   ///

28
                                                      11
           Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 12 of 14




1    IV.     CONCLUSION

2            Accordingly, Defendants respectfully request this Court strike the Proposed Discovery

3    Plan and Scheduling Order that Plaintiff filed with this Court (ECF No. 51) and order case

4    dispositive sanctions due to Plaintiff’s repeated misconduct.

5            DATED this 3rd day of January, 2024.
                                                           FREEMAN MATHIS & GARY, LLP
6
                                                             /s/ Michael M. Edwards
7                                                          MICHAEL M. EDWARDS, ESQ.
                                                           Nevada Bar No. 6281
8                                                          STEPHANIE D. BEDKER ESQ.
                                                           Nevada Bar No. 14169
9                                                          770 East Warm Springs Road, Suite 360
                                                           Las Vegas, NV 89119
10                                                         Attorneys for Defendants
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     12
         Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 13 of 14




                                   CERTIFICATE OF SERVICE
1

2    I certify that I am an employee of Freeman Mathis & Gary, LLP, and that on Wednesday, January

3    3, 2024, I served a true and correct copy of the foregoing DEFENDANTS’ EMERGENCY

4    MOTION TO STRIKE AND REQUEST FOR SANCTIONS to all parties on file:

5    Grant M. Saxena
6    275 New North Road #2051
     London, NI 7AA
7    Pro Se Plaintiff

8           [ ]    Hand Delivery
            [ ]    FACSIMILE TRANSMISSION
9
            [X]    U.S. MAIL, POSTAGE PREPAID
10          [X]    CM/ECF E-Filing Service System
            [X]    Electronic Mail
11
                                                  /s/ Laurie Moreno
12                                               An employee of FREEMAN MATHIS & GARY, LLP
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  13
       Case 2:22-cv-02126-CDS-BNW Document 55 Filed 01/03/24 Page 14 of 14




1                                INDEX OF EXHIBITS

2    Exhibit A   Email from Stephanie Bedker, Esq. to Plaintiff, dated December 14, 2023

3    Exhibit B   Declaration of Michael M. Edwards, Esq.

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                            14
